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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                  8:07CR287
                                               )
                v.                             )
                                               )
KHA MANH NGUYEN,                               )                    ORDER
                                               )
                      Defendants.              )
                                               )


        Before the court is the report and recommendation of United States Magistrate
Judge Thomas D. Thalken, Filing No. 40. No objection has been filed to the report and
recommendation. Pursuant to NECrimR 57.3 and 28 U.S.C. § 636(b)(1)(C), the court has
conducted a de novo review of the record and adopts the report and recommendation in
its entirety.
        THEREFORE, IT IS HEREBY ORDERED that:
        1.      The report and recommendation, Filing No. 40, is adopted in its entirety;
        2.      The defendant’s motion to suppress, Filing No. 17, is denied.

        DATED this 22nd day of January, 2008.

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              Chief United States District Judge
